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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                           CASE NO. 3:92cr3008-007LAC

REINALDO PEREIRA-POSO

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on FEBRUARY 5, 2008
Motion/Pleadings: MOTION FOR MODIFICATION OF AN IMPOSED TERM OF
IMPRISONMENT PURSUANT TO 18 U.S.C. §3582(c)(2) and U.S.S.G. §1B1.1(c) BASED ON
THE AMENDED SENTENCING GUIDELINE ON CRACK COCAINE EFFECTIVE
NOVEMBER 1, 2007 and RETROACTIVELY APPLICABLE ON MARCH 3rd, 2008
Filed by DEFENDANT PRO SE              on 1/31/08      Doc.# 785

RESPONSES:
GOVERNMENT                                     on 2/6/08                 Doc.# 786
                                               on                        Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of    the   foregoing,       it    is     ORDERED    this   6 th   day   of
February, 2008, that:
(a) The relief requested is DENIED.
(b) Without prejudice.         The retroactive application does not become effective
until 3 March 2008.




                                                                  s /L.A. Collier
Entered On Docket:                    By:                    LACEY A. COLLIER
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
                                                   Senior United States District Judge
Copies sent to:




                               Document No.
